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UNITED STATES DISTRICT COURT SOUTHERN
DISTRICT OF FLORIDA

ADAM THOR, et al.,
Plaintiffs,
vs.
FRONTIER AIRLINES, INC.,

Defendant

CASE NO.

DEFENDANT FRONTIER AIRLINES, INC.’S DISCLOSURE STATEMENT

Pursuant to Federal Rule of Civil Procedure 7.1(a), Defendant, FRONTIER AIRLINES,

INC. (“Frontier”), discloses that it is wholly owned by Frontier Airlines Holdings, Inc. No

publicly held corporation owns 10% or more of Frontier Airlines, Inc.’s stock.

Dated: September 30, 2024

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CERTIFICATE OF SERVICE

I hereby certify that a true copy of the foregoing document has been electronically filed
by using the CM/ECF system on this 30" day of September, 2024, and that a copy was sent to
Plaintiffs via US Mail and electronic mail at the following: Adam Thor and Travis Foster, 1300
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